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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GERALD LYNN BOSTOCK,                   )
                                       )
             Plaintiff,                )
                                       )
v.                                     )         CIVIL ACTION
                                       )         NO: 1:16-cv-01460-ELR
CLAYTON COUNTY,                        )
                                       )
             Defendant.                )

     CONSENT MOTION FOR ADDITIONAL EXTENSION OF DEADLINE
        FOR FILING OBJECTIONS TO THE FINAL REPORT AND
                      RECOMMENDATION

       COME NOW the parties and jointly move the Court to enter an order

extending the deadline for each party to file objections to the Magistrate Judge’s

final report and recommendation (“R&R”) (Doc. 166) through and including August

4, 2022. In support of this motion, the parties respectfully show as follows:

                                            1.

       The Magistrate Judge issued a 63-page R&R recommending the denial of each

party’s motion for summary judgment (Doc. 166) and a related service order (Doc.

167) on June 7, 2022. On the parties’ consent motions, the Court has extended the

deadline to file objections to the R&R through July 28, 2022. (Doc. 171, 173.)



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                                            2.

      In the R&R, the Magistrate Judge also encouraged the parties to mediate this

case, using either a private mediator or another magistrate judge. (Doc. 166, p. 63.)

                                            3.

      The parties seek additional time to prepare objections to the R&R to continue

discussing the possibility of resolving this matter without the need for further judicial

intervention, including the possibility of mediating this case. Since the Court last

extended the time for filing objections, the parties have made progress in discussing

the potential for resolution and potential mediation. If the parties do not continue to

make significant progress towards resolving this matter or agree to mediation within

the requested extended deadline, the parties will file their respective objections on

or by August 4, 2022.

                                            4.

      Accordingly, the parties seek an additional extension of the deadline for each

party to file objections to the R&R through and including Thursday, August 4, 2022.

This extension is not sought for the purpose of delaying this case, is necessary for

the reasons stated herein, and is for the mutual convenience of the parties in

exploring a mutually agreeable resolution of this case. All parties consent to this

request for extension.

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      WHEREFORE, the parties respectfully move the Court for an extension of

the deadline for each party to file objections to the R&R through and including

August 4, 2022. A Proposed Order is attached for the Court’s convenience.

      Respectfully submitted, this 26th day of July 2022.

CONSENTED TO BY:

/s/ Thomas J. Mew, IV                    /s/ Jack R. Hancock
Edward D. Buckley                        Jack R. Hancock
Georgia Bar No. 092750                   Georgia Bar No. 322450
Andrew M. Beal                           William H. Buechner, Jr.
Georgia Bar No. 043842                   Georgia Bar No. 086392
Thomas J. Mew, IV                        Michael M. Hill
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Counsel for Plaintiff                    Counsel for Defendant




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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that the within and foregoing CONSENT MOTION FOR

EXTENSION OF DEADLINE FOR FILING OBJECTIONS TO THE FINAL

REPORT AND RECOMMENDATION has been prepared in compliance with

Local Rule 5.1(B) in 14-point Times New Roman type face.

     This 26th day of July, 2022.


                                          /s/ Thomas J. Mew
                                          Thomas J. Mew
                                          Georgia Bar No. 503447




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all

attorneys of record:

      This 26th day of July, 2022.


                                          /s/ Thomas J. Mew
                                          Thomas J. Mew
                                          Georgia Bar No. 503447
